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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION

WILLIE A. JACKSON,                              )
AIS #143417,                                    )
                                                )
            Plaintiff,                          )
                                                )
    v.                                          )     CIVIL ACTION NO. 2:20-CV-600-RAH
                                                )
KAY IVEY, et al.,                               )
                                                )
            Defendants.                         )

                                             ORDER

          On February 25, 2021, the Magistrate Judge entered a Recommendation (Doc. 18) to

 which no timely objections have been filed. After an independent review of the file and upon

 consideration of the Recommendation, it is ORDERED that:

         1. The Recommendation of the Magistrate Judge is ADOPTED.

         2. This case is DISMISSED without prejudice for Plaintiff’s failure to comply with an

order of this court.

         A separate Final Judgment will be entered.

         DONE, on this the 25th day of May, 2021.


                                             /s/ R. Austin Huffaker, Jr.
                                      R. AUSTIN HUFFAKER, JR.
                                      UNITED STATES DISTRICT JUDGE
